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      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



 Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
         Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
              Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                          NOTICE OF DOCKETING - Short Form
  December 23, 2019


  To:         Laura A. Briggs
              District/Bankruptcy Clerk

  The below captioned appeal has been docketed in the United States Court of Appeals for the
  Seventh Circuit:

                     Appellate Case No: 19-3499

                     Caption:
                     TONCA WATTERS, et al.,
                     Plaintiffs - Appellants

                     v.

                     HOMEOWNERS ASSOCIATION AT THE PRESERVE AT
                     BRIDGEWATER, et al.,
                     Defendants - Appellees


                     District Court No: 1:18-cv-00270-MPB-JMS
                     Clerk/Agency Rep Laura A. Briggs
                     Magistrate Judge Matthew P. Brookman

                     Date NOA filed in District Court: 12/23/2019


  If you have any questions regarding this appeal, please call this office.



  form name: c7_Docket_Notice_short_form(form ID: 188)
